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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN


 Megan Focht,                                 CASE NO.:

              Plaintiff,
                                                         COMPLAINT
 v.

 Quicken Loans, LLC,
                                                 JURY TRIAL DEMANDED
              Defendant.



                                  INTRODUCTION

1.    The United States Congress has found abundant evidence that the banking

      system is dependent upon fair and accurate credit reporting. Inaccurate credit

      reports directly impair the efficiency of the banking system, and unfair credit

      reporting methods undermine the public confidence which is essential to the

      continued functioning of the banking system. An elaborate mechanism has

      been developed for investigating and evaluating the credit worthiness, credit

      standing, credit capacity, character, and general reputation of consumers.

      Consumer reporting agencies have assumed a vital role in assembling and

      evaluating consumer credit and other information on consumers. There is a

      need to insure that consumer reporting agencies exercise their grave

      responsibilities with fairness, impartiality, and a respect for the consumer!s


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     right to privacy. Congress wrote the Fair Credit Reporting Act ("FCRA”), 15

     U.S.C. § 1681 et seq., to require that consumer reporting agencies, furnishers,

     and other persons adopt reasonable procedures for meeting the needs of

     commerce for consumer credit, personnel, insurance, and other information in

     a manner which is fair and equitable to the consumer, with regard to the

     confidentiality, accuracy, relevancy, and proper utilization of such

     information.

2.   Plaintiff Megan Focht (“Plaintiff”), by and through Plaintiff!s attorneys, brings

     this action to challenge the actions of Quicken Loans, LLC (“Defendant”)

     regarding Defendant’s unauthorized and unlawful credit inquiries.

3.   Plaintiff makes these allegations on information and belief, except for those

     allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which Plaintiff

     alleges on personal knowledge.

4.   While many violations are described below with specificity, this Complaint

     alleges violations of the statutes cited in their entirety.

5.   Unless otherwise stated, all the conduct engaged in by Defendant took place

     in South Carolina.

6.   Defendant committed each of the violations stated herein knowingly,

     willfully, and intentionally, and Defendant did not maintain procedures

     reasonably adapted to avoid any such violation.

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7.    Unless otherwise indicated, the use of Defendant’s name in this Complaint

      includes all agents, employees, officers, members, directors, heirs, successors,

      assigns, principals, trustees, sureties, subrogees, representatives, and insurers

      of Defendant.

3.    Through this Complaint, Plaintiff does not allege that any state court judgment

      was entered against anyone in error, and Plaintiff does not seek to reverse or

      modify any judgment of any state court.

                              JURISDICTION AND VENUE
8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331.

9.    This Court has federal question jurisdiction because this case arises out of

      Defendant’s violation of federal law—the FCRA.

10.   Venue is proper pursuant to 28 U.S.C. § 1391 as Defendant resides in this

      judicial district and its principal place of business is in this judicial district.

11.   Defendant is subject to the Court’s personal jurisdiction, as Defendant

      conducts business within this judicial district and Defendant’s principal place

      of business is in this judicial district.

12.   Plaintiff is informed and believes and thereon alleges that all acts of

      Defendant’s corporate employees as hereinafter alleged were authorized or

      ratified by an officer, director or managing agent of the corporate employer.




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13.   Plaintiff is informed and believes and, on that basis, alleges that at all times

      mentioned herein Defendant was the principal, agent (actual or ostensible), or

      employee and in acting as such principal or within the course and scope of

      such employment or agency, took some part in the acts and omissions

      hereinafter set forth by reason of which Defendant is liable to Plaintiff or the

      relief prayed for herein.

                                      PARTIES
14.   Plaintiff is a natural person who resides in Myrtle Beach, South Carolina.

15.   Plaintiff is a natural person whose consumer report was affected by an

      unauthorized inquiry.

16.   In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

      §1681a(c).

17.   Defendant is an entity with a principal place of business in Detroit, Michigan.

18.   Defendant is a “person” as defined by 15 U.S.C. § 1681a(b).

19.   Defendant can be served at its registered agent: The Corporation Company,

      40600 Ann Arbor Road E., Suite 201, Plymouth, MI 48170.

                              FACTUAL ALLEGATIONS
20.   At all times relevant, Plaintiff was an individual residing within the State of

      South Carolina.

21.   At all times relevant, Defendant conducted business in the State of Michigan.



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22.   Plaintiff is informed and believes, and thereon alleges, that Defendant

      acquired Plaintiff’s credit information through an unauthorized inquiry of

      Plaintiff’s “consumer report” as defined by 15 U.S.C. §1681a(d)(1).

23.   Consumer report and credit report will be used interchangeably herein to refer

      to the same item, as defined by 15 U.S.C. §1681a(d)(1).

                           The Impermissible Credit Pull

24.   In the Spring of 2021, Plaintiff and her husband were considering purchasing

      a new home.

25.   Sometime on or before May 17, 2021, Plaintiff’s husband was on a phone call

      (the “Call”) with a representative of Defendant to inquire about mortgage rates

      and terms.

26.   On the Call, Plaintiff’s husband mentioned that Plaintiff already had a

      mortgage that was being serviced by Defendant.

27.   Thereafter, in response, the representative of Defendant requested Plaintiff’s

      phone number, which Plaintiff’s husband provided on the Call.

28.   At no time did Plaintiff’s husband provide consent for Defendant to pull

      Plaintiff’s credit report on the Call.

29.   Sometime after the call, on May 17, 2021, Defendant made a hard inquiry to

      Trans Union and retrieved Plaintiff’s Trans Union credit report and financial

      data.


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30.   Then again, on or about May 18, 2021, Defendant made a hard inquiry to

      Trans Union as well Equifax and Experian and retrieved her credit reports and

      financial data from each entity.

31.   As if that was not enough, on or about May 19, 2021, Defendant made yet

      another hard inquiry to Trans Union as well as Equifax and Experian and

      retrieved her credit reports and financial data from each entity.

32.   Over the course of three days, Defendant made a total of seven hard inquiries

      to Trans Union, Equifax, and Experian.

33.   Thereafter, on or about May 19, 2021, Plaintiff received a notification from

      Credit Karma as to the hard inquiries made by Defendant.

34.   At no time before, during, or after each of the hard pulls on May 17, 18, and

      19 did Plaintiff consent to Defendant pulling her credit reports.

35.   At no time before, during, or after each of the hard pulls on May 17, 18, and

      19 did Plaintiff’s husband consent on Plaintiff’s behalf to Defendant pulling

      her credit reports.

36.   Plaintiff contacted Defendant on or about May 19, 2021 to inquire as to why

      Defendant pulled Plaintiff’s credit reports.

37.   In the following days, Plaintiff corresponded with Defendant’s representatives

      several times by phone and email.




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38.   Defendant’s representatives appeared to acknowledge that Defendant did not

      have a permissible purpose to obtain Plaintiff’s credit reports and noted that

      Defendant has “taken the steps internally to address this matter with our

      Team.”

39.   Plaintiff did not want Defendant or the agent who pulled Plaintiff’s credit

      reports to have access to her personal and confidential financial information

      contained on her credit report as of May 2021.

40.   Plaintiff further did not want a “hard inquiry” on her credit, as it would lower

      her credit score and negatively impact her ability to receive favorable terms

      on future financial transactions.

                                   Credit Scoring

41.   The Fair Isaac Corporation credit risk scoring system, also known as “FICO”,

      is a ubiquitous credit scoring system and utilizes data reported by credit

      reporting agencies. See https://www.myfico.com/credit-education/credit-

      scores/ .

42.   Defendant’s hard inquiries caused Plaintiff to suffer from reduced FICO credit

      scores.

43.   The Fair Isaac Corporation uses the data in consumer reports to calculate

      credit scores that it assigns to consumers.




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44.   The term “credit score” is a numerical value or a categorization used to predict

      the likelihood of certain credit behaviors, including default. See

      http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-

      examination-manual-v2.pdf.

45.   FICO scores are calculated from credit data in a consumer’s credit report that

      are arranged in five main categories. Those categories are identified and

      weighted as follows: payment history accounts for 35% of a consumer’s FICO

      score; debt/amounts owed accounts for 30% of a consumer’s FICO score;

      age/length of credit history accounts for 15% of a consumer’s FICO score; new

      credit/recent inquiries accounts for 10% of a consumer’s FICO score; and mix

      of accounts/types of credit accounts for 10% of a consumer’s FICO score. See

      https://www.myfico.com/credit-education/whats-in-your-credit-score/.

46.   A consumer’s credit score impacts that consumer’s cost of credit (e.g., interest

      rates, fees, etc.), availability of credit, ratings for insurance products, and even

      unsolicited credit offers, such as the opportunity to refinance a mortgage at a

      lower interest rate, extend financing periods, lower rate auto loans, and even

      zero-percent financing credit offers for in-store credit lines.

47.   Inaccurate or incorrect credit reporting often results in a lower FICO (and

      other credit scoring model) scores, thus creating higher costs of credit for the

      consumer, diminished opportunities, and less purchasing power.


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48.   Here, causing seven hard pulls to appear on Plaintiff’s credit reports has

      resulted in the illegitimate suppression of Plaintiff’s FICO credit score and/or

      other credit rating model scores.

49.   There is no established rule or threshold for classifying the significance of a

      credit score change as minor or major because the impact of a change in score

      is dependent on the current score; i.e., a one-point change in credit score that

      moves the consumer from one risk tier to the next may have a large impact on

      the consumer’s ability to receive credit, the type of credit, or rates of that credit

      that a consumer may receive.

50.   Consistent with the FTC Study, the Fair Isaac Corporation states that

      inaccurate or incorrect information on a consumer’s credit report can hurt their

      score. See https://www.myfico.com/credit-education/questions/fix-errors-on-

      credit-report/.

                 Violations of the FCRA and Plaintiff’s Damages

51.   In May 2021 when Defendant pulled Plaintiff’s credit reports seven times,

      Defendant did not have Plaintiff’s authorization to pull Plaintiff’s consumer

      reports.

52.   Defendant retrieved and received Plaintiff’s confidential financial information

      without Plaintiff’s permission or authorization.




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53.   15 U.S.C. § 1681b(f) provides, in part, that “[a] person shall not obtain a

      consumer report for any purpose unless—(1) the consumer report is obtained

      for a purpose for which the consumer report is authorized to be furnished

      under this section[.]”

54.   Defendant’s consumer report inquiry and subsequent obtainment of Plaintiff’s

      credit reports, without Plaintiff’s consent, falls outside the scope of any

      permissible use or access included in 15 U.S.C. § 1681b.

55.   Therefore, Defendant violated 15 U.S.C. § 1681b by obtaining Plaintiff’s

      credit reports without a permissible purpose provided for by 15 U.S.C. §

      1681b.

56.   Defendant’s actions were willful under 15 U.S.C. §§ 1681n because

      Defendant was aware of the FCRA’s prohibitions on impermissibly pulling

      consumers’ credit reports. See Doe v. Sentech Employment Services, Inc.,

      E.D. Mich. May 16, 2016) (citing Singleton v. Domino's Pizza, LLC, 2012

      WL 245965, *4 (D. Md. Jan. 25, 2012) (“[A]ssertions that a defendant is

      aware of the FCRA, but failed to comply with its requirements, are sufficient

      to support an allegation of willfulness and to avoid dismissal.”).

57.   Plaintiff suffered an invasion of a legally protected interest Defendant

      accessed Plaintiff’s highly confidential personal information on her credit

      reports at a time when Defendant had no right to do so.


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58.   Defendant’s hard inquiries constitute an invasion of Plaintiff’s right to

      privacy.

59.   Plaintiff has a common law right to keep her personal credit information

      private. E.g., Samuel D. Warren & Louis D. Brandeis, The Right to Privacy,

      4 Harv. L. Rev. 1155, 193 (1890).

60.   By obtaining Plaintiff’s credit reports, Defendant intruded upon Plaintiff’s

      seclusion.

61.   According to the Restatement (Second) of Torts § 652B, “One who

      intentionally intrudes, physically or otherwise, upon the solitude or seclusion

      of another or his private affairs or concerns, is subject to liability to the other

      for invasion of his privacy, if the intrusion would be highly offensive to a

      reasonable person.”

62.   The common law tort of intrusion upon seclusion “does not depend upon any

      publicity given to the person whose interest is invaded or to his

      affairs.” Id. Rather, “[i]t consists solely of an intentional interference with his

      interest in solitude or seclusion, either as to his person or as to his private

      affairs or concerns, of a kind that would be highly offensive to a reasonable

      man.”




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63.   At common law, “[t]he intrusion itself makes the defendant subject to liability,

      even though there is no publication or other use of any kind of the photograph

      or information outlined.” Id.

64.   The FCRA, through 15 U.S.C. § 1681b, protects consumers like Plaintiff from

      the type of behavior Defendant engaged in as described in this Complaint.

65.   The common law tort of intrusion upon seclusion is preempted by the FCRA,

      and the FCRA expressly provides that Congress made the following finding:

      “There is a need to insure that consumer reporting agencies exercise their

      grave responsibilities with fairness, impartiality and a respect for the

      consumer’s right to privacy.” 15 U.S.C. §1681a(4).

66.   Plaintiff was impacted personally because when she discovered the actions of

      Defendant as described above (pulling her credit reports without any

      authorization), Plaintiff’s privacy was invaded, and her personal and private

      information was disclosed to Defendant and some unknown agent of

      Defendant that had no right to Plaintiff’s private information.

67.   Plaintiff suffered significant mental and emotional distress because of

      Defendant’s invasion of Plaintiff’s privacy.

68.   Plaintiff took time off work due to the significant distress she experienced

      from Defendant’s actions.




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69.   Plaintiff lost sleep and experienced other physical manifestations of harm as

      a result of Defendant’s actions, including an ulcer.

70.   Plaintiff also experienced significant anxiety as a result of Defendant’s

      actions.

71.   Plaintiff is a professional in the healthcare industry and she feels that the

      confidential identification information contained on her credit reports could

      be used to impact her job negatively.

72.   The injury suffered by Plaintiff is concrete because Defendant’s violation of

      15 U.S.C. § 1681b caused Plaintiff to suffer from significant mental and

      emotional distress as well as an invasion of Plaintiff’s privacy.

73.   In enacting 15 U.S.C. § 1681b, Congress specifically sought to protect

      consumers from invasions of privacy and created restrictions on access to

      consumers’ sensitive financial information in their credit reports.

74.   Further, Defendant’s increased the risk that Plaintiff will be injured if there is

      a data breach Defendant’s computer systems by acquiring additional highly

      sensitive information about Plaintiff and saving that information onto its

      computer system.

75.   Additionally, as a result of several hard pulls appearing on her credit reports,

      Defendant caused Plaintiff’s credit score to decrease, thereby harming

      Plaintiff’s credit reputation and negatively impacting her creditworthiness.


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76.   Plaintiff also was forced to take affirmative steps to protect herself from

      further harm by Defendant.

77.   Plaintiff froze her credit to prevent any other unauthorized inquiries by

      Defendant or anyone else that may receive Plaintiff’s personal and

      confidential financial information from Defendant.

78.   In addition, to date, despite several communications with Plaintiff regarding

      Defendant’s impermissible pulls of Plaintiff’s credit reports, as of August

      2021, the hard inquiries remain on Plaintiff’s credit reports.

79.   As a result of a decreased credit score from the hard inquiries that remained

      on her report and her frozen status of her credit reports, Plaintiff has been

      unable to receive credit for various items and expenses.

80.   As one example, Plaintiff had to pay out-of-pocket for a kitchen remodel

      because: (1) she would have to unfreeze her credit in order to obtain credit for

      the project, and (2) the significant likelihood that she would receive credit on

      worse terms due to the hard inquiries that persisted on her credit reports,

      lowering her credit scores.

81.   On another occasion, when inquiring about potentially obtaining a loan for a

      boat, Plaintiff was advised by a representative of a bank that it may be best

      for Plaintiff to wait until the hard inquiries from Defendant were no longer on




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      her report before Plaintiff moved forward with the loan, as the hard inquiries

      would reduce Plaintiff’s chances of approval for the loan.

82.   As a result, Plaintiff suffered from fear of credit denials.

83.   Plaintiff has had to alter her life and choices related to requesting and

      receiving credit because of Defendant’s actions.

84.   In addition, Plaintiff’s credit reports have been accessed several times by third

      parties conducting account review inquiries and/or promotional inquiries

      while the hard pulls were present on Plaintiff’s credit reports; thus, Defendant

      further defamed Plaintiff by causing an inaccurate picture of her credit

      requests that was subsequently published to third parties.

85.   As such, Plaintiff is entitled to the remedies available under 15 U.S.C. §1681n

      and 15 U.S.C. § 1681o.

                            FIRST CAUSE OF ACTION
                        THE FAIR CREDIT REPORTING ACT
                         15 U.S.C. §1681 et seq. (FCRA)

86.   Plaintiff repeats, re-alleges, and incorporates by reference all above

      paragraphs.

87.   The foregoing acts and omissions constitute numerous and multiple violations

      of the FCRA.

88.   As a result of each and every negligent violation of the FCRA, Plaintiff is

      entitled to actual damages, pursuant to 15 U.S.C. §1681o(a)(1); and costs


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      together with reasonable attorney’s fees, pursuant to 15 U.S.C. § 1681o(a)(2),

      from Defendant.

89.   As a result of each and every willful violation of the FCRA, Plaintiff is entitled

      to actual damages or damages of not less than $100.00 and not more than

      $1,000.00, pursuant to 15 U.S.C. §1681n(a)(1)(A); punitive damages as the

      court may allow, pursuant to 15 U.S.C. §1681n(a)(2); and costs together with

      reasonable attorney’s fees, pursuant to 15 U.S.C. §1681n(a)(3) from

      Defendant.

                            REQUEST FOR JURY TRIAL
90.   Pursuant to the Seventh Amendment to the Constitution of the United States

      of America, Plaintiff is entitled to, and demands, a trial by jury.

                                PRAYER FOR RELIEF
      Wherefore, Plaintiff respectfully requests the Court grant Plaintiff the

following relief against Defendant:

      1. A declaratory judgment that Defendant’s actions as discussed herein are

         unlawful and an invasion of privacy;

      2. Plaintiff’s actual damages;

      3. Statutory damages of not less than $100.00 and not more than $1,000.00

         to Plaintiff, pursuant to 15 U.S.C. § 1681n(a)(1), against Defendant;

      4. Punitive damages against Defendant, pursuant to 15 U.S.C. §1681n(a)(2);



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     5. An award of costs of litigation together with reasonable attorney’s fees,

        pursuant to 15 U.S.C. §§ 1681n(a)(3), against Defendant; and

     6. Any other relief the Court may deem just and proper.

                                          Respectfully submitted,


Date: August 31, 2021                  By: /s/ Anthony P. Chester
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